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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA                       -           ,
                                      (Alexandria Division)                                 '       li

 UNITED STATES OF AMERICA


 V.                                                Case No. 1:18-CR 457 AJT

 BIJAN RAFIEKIAN


                                Defendant.




                     NON-PARTY COVINGTON & BURLING LLP'S
IVlEiVIORANDUIVI IN SUPPORT OF MOTION TO OUASH SUBPOENA IN PART

         Pursuant to Rule 17(c) of the Federal Rules of Criminal Procedure, non-party Covington

& Burling LLP respectfully requests that this Court quash Item 8 of the subpoena served upon

Covington by the Defendant. Bijan Rafiekian, which calls for production of attorney-client and

work product privileged materials and imposes an undue burden. Covington has already

accommodated Defendant by producing to his counsel any materials in its possession responsive

to Items I through 7 of the subpoena, which did not call for production of privileged documents

or information.


                                       INTRODUCTION


         This motion seeks to quash, in part, a March 5. 2019 subpoena issued to Covington that,

in relevant part, directs Covington to produce to counsel for Defendant Bijan Rafiekian

"Covington's FIG [Flynn Intel Group, Inc.] client llle, including, but not limited to, notes,

memoranda, timesheets, billing records, and other documents associated with" the March 7, 2017

Foreign Agents Registration Act("FAIGV') filing that Covington made on behalf of FIG.

{UnitedStates v. Rafiekian, 1:18-CR-457, Docket No. 67, at 4).




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